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 6
      MYRNA E. BAUM

 7
                                UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9

10    MYRNA E. BAUM, an individual,                      Case No.: 2:13-cv-00187-RGK-JCG
11                 Plaintiff,                            [PROPOSED] ORDER OF
                                                         DISMISSAL WITH PREJUDICE
12          vs.                                          BETWEEN PLAINTIFF AND
                                                         DEFENDANTS
13
      PROFESSIONAL RECOVERY
14    SERVICES, INC., a corporation; and
      DOES 1 to 10, inclusive,
15
                   Defendants.
16

17          PURSUANT TO STIPULATION, IT IS SO ORDERED that all claims of
18    Plaintiff MYRNA E. BAUM, an individual, against Defendants, PROFESSIONAL
19    RECOVERY SERVICES, INC., a corporation; and DOES 1 to 10, inclusive are
20    dismissed, with prejudice. Plaintiff MYRNA E. BAUM, and Defendant
21    PROFESSIONAL RECOVERY SERVICES, INC., shall each bear their own costs
22    and attorneys’ fees.
23    IT IS SO ORDERED.
24    DATED: October 09, 2013                    ___________________________________
25
                                                   District Court Judge
                                                   Central District of California


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                                 Stipulation and [Proposed] Order of Dismissal
